Case 23-17422-RG               Doc 15      Filed 08/29/23 Entered 08/29/23 15:24:14          Desc Main
                                           Document      Page 1 of 3



     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

     Caption in Compliance with D.N.J. LBR 9004-1(b)

     Norgaard, O'Boyle & Hannon
     184 Grand Avenue
     Englewood, NJ 07631
     (201) 871-1333
     Attorneys for Debtor-in-Possession
     By: Brian G. Hannon (BH-3645)                         Case No.:                   23-17422
                                                                                 ____________________
          bhannon@norgaardfirm.com
                                                           Chapter:                11 (Subchapter V)
                                                                                 ____________________


     In Re:                                                Adv. No.:             ____________________

     DELDOR WELLNESS, INC.                                 Hearing Date:         8/30/2023@ 10:30am
                                                                                 ____________________

                                                           Judge:                         RG
                                                                                 ____________________




                                     CERTIFICATION OF SERVICE
              David Takach
1. I, ____________________________ :

           ☐ represent ______________________________ in this matter.

           ☐ am the secretary/paralegal for ___________________________,
                                              Norgaard, O'Boyle & Hannon who represents
                 Deldor Wellness, Inc.
           ______________________________ in this matter.

           ☐ am the ______________________ in this case and am representing myself.



2.                      8/29/2023
           On _____________________________, I sent a copy of the following pleadings and/or documents
           to the parties listed in the chart below.

              Filed Application for Authorization to Continue Credit Card Facitilies, Certificate of Service
              and Proposed Order

3.         I certify under penalty of perjury that the above documents were sent using the mode of service
           indicated.

Date:      8/29/2023
           _______________________                         /s/David Takach
                                                           __________________________________
                                                           Signature
Case 23-17422-RG        Doc 15    Filed 08/29/23 Entered 08/29/23 15:24:14            Desc Main
                                  Document      Page 2 of 3



Name and Address of Party Served          Relationship of                 Mode of Service
                                         Party to the Case
Office of The United States Trustee    US Trsustee           ☐ Hand-delivered
One Newark Center
                                                             ☐ Regular mail
1085 Raymond Boulevard
Suite 2100                                                   ☐ Certified mail/RR
Newark, NJ 07102
                                                             ☐ Other _____________________
                                                                     Priority Express Mail
                                                                (As authorized by the Court or by rule. Cite
                                                             the rule if applicable.)

Fran B. Steele, Esq.                   US Trustee            ☐ Hand-delivered
Office of the United States Trustee
One Newark Center, Suite 2100                                ☐ Regular mail
Newark, NJ 07102                                             ☐ Certified mail/RR
                                                             ☐ Other _____________________
                                                                     Priority Express Mail
                                                                (As authorized by the Court or by rule. Cite
                                                             the rule if applicable.)

All Parties on the Attached List of    Creditors             ☐ Hand-delivered
Creditors
                                                             ☐ Regular mail
                                                             ☐ Certified mail/RR
                                                             ☐ Other _____________________
                                                                     Priority Express Mail
                                                                (As authorized by the Court or by rule. Cite
                                                             the rule if applicable.)

                                                             ☐ Hand-delivered
                                                             ☐ Regular mail
                                                             ☐ Certified mail/RR
                                                             ☐ Other _____________________
                                                                (As authorized by the Court or by rule. Cite
                                                             the rule if applicable.)

                                                             ☐ Hand-delivered
                                                             ☐ Regular mail
                                                             ☐ Certified mail/RR
                                                             ☐ Other _____________________
                                                                (As authorized by the Court or by rule. Cite
                                                             the rule if applicable.)




                                             2
       Case 23-17422-RG        Doc 15    Filed 08/29/23 Entered 08/29/23 15:24:14     Desc Main
                                         Document      Page 3 of 3

         Alma Laser                        Amerifi Capital, LLC                Cedar Advance, LLC
         485 Day Rd                             330 Main St                       2917 Avenue I
   Buffalo Grove, IL 60089                Hartford, CT 06106-1860            Brooklyn, NY 11210-2934


Cherrywood Enterprises, LLC                   CHTD Company                     Clicklease, LLC, c/o
    c/o Sklar Law, LLC                         PO Box 2576                The Offices of Joseph A. Molinar
    20 Brace Rd Ste 205                  Springfield, IL 62708-2576              648 Wyckoff Ave
Cherry Hill, NJ 08034-2634                                                   Wyckoff, NJ 07481-1428

Corporation Service Company             Corporation Service Company          Everest Business Funding
       PO Box 2576                        801 Adlai Stevenson Dr              8200 NW 52nd Ter Fl 2
 Springfield, IL 62708-2576              Springfield, IL 62703-4261            Doral, FL 33166-7852


    FC Marketplace, LLC                 Financial Pacific Leasing, Inc.   Goldman, Imani & Goldberg, Inc.
       747 Front St Fl 4                        PO Box 4568                     9894 Bissonnet St
San Francisco, CA 94111-1922            Federal Way, WA 98063-4568           Houston, TX 77036-8239


         Remex Inc.                          Merk Funding, Inc.                   Lien Solutions
         307 Wall St                           3611 14th Ave                      PO Box 29071
  Princeton, NJ 08540-1515                Brooklyn, NY 11281-3773            Glendale, CA 91209-9071


          MedShift                            Quicksilver Capital         TKK Broadway Management, LLC
  525 N Tryon St Ste 1600                     181 S Franklin Ave             c/o Raymond & Raymond
  Charlotte, NC 28202-0213              Valley Stream, NY 11581-1138           7 Glenwood Ave Fl 4
                                                                            East Orange, NJ 07017-1061

  Viora Sinclair Company                    Yunis Properties, Inc.             Savit Collection Agency
      213 W 35th St                           32 Washington St                       PO Box 250
 New York, NY 10001-1903                   Tenafly, NJ 07670-3216          East Brunswick, NJ 08816-0250


         Block, Inc.                               Telecom                    Erica R. Gilerman, Esq.
   1455 Market St Ste 600                       PO Box 4500                  515 Madison Ave Ste 8108
San Francisco, CA 94103-1332                Allen, TX 75013-1311             New York, NY 10022-5403


Ershowsky & Verstandig, PLLC                   Funding Circle                    Funding Metrics
    290 Central Ave Ste 109                   85 2nd St Ste 400               3220 Tillman Dr Ste 200
  Lawrence, NY 11559-8507               San Francisco, CA 94105-3462         Bensalem, PA 19020-2028


 True Business Funding, LLC        Utility Self Reported/Public Service           Swift Financial
    301 Mill Rd, Ste U-5                       PO Box 4500                  3505 Silverside Rd. Ste 200
  Hewlett, NY 11557-1291                  Allen, TX 75013-11311             Wilmington, DE 19810-4905
